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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    In re:                                               §
                                                         §
    HIGHLAND CAPITAL                                     §     Chapter 11
    MANAGEMENT, L.P.                                     §
                                                         §     Case No. 19-34054-sgj11
              Reorganized Debtor.                        §

             APPELLANT HUNTER MOUNTAIN INVESTMENT TRUST’S
               SUPPLEMENTAL STATEMENT OF THE ISSUES AND
       DESIGNATION OF ITEMS FOR INCLUSION IN THE APPELLATE RECORD

             COMES NOW Appellant/Movant Hunter Mountain Investment Trust, both in its

individual capacity and derivatively on behalf of the Reorganized Debtor, Highland Capital

Management, L.P., and the Highland Claimant Trust, 1 (collectively, “Appellant” or “HMIT”), and

files this Supplemental 2 Statement of the Issues and Designation of Items for Inclusion in the

Appellate Record pursuant to Federal Rule of Bankruptcy Procedure 8009(a)(1):

                                               I.
                                     STATEMENT OF THE ISSUES

A.           Did the bankruptcy court err in determining that the “colorable” claim analysis allowed the
             court to consider evidence and other non-pleading materials including, but not limited to,
             the court’s reasoning that:

                1. the colorability analysis is stricter than a non-evidentiary, Rule 12(b)(6)-type
                   analysis;

                2. the colorability analysis is “akin to the standards applied under the … Barton
                   doctrine”;

                3. the colorability analysis requires a “hybrid” of the Barton doctrine and “what courts
                   have applied when considering motions to file suit when a vexatious litigant bar
                   order is in place”; and/or,


1
  And in all capacities and alternative derivative capacities asserted in HMIT’s Emergency Motion for Leave to File
Verified Adversary Proceeding [Dkt. Nos. 3699, 3815, and 3816] (“Emergency Motion”), the supplement to the
Emergency Motion [Dkt. No. 3760], and the draft Complaint attached to the same [Dkt. No. 3760-1].
2
  Appellant files this Supplement pursuant to the Clerk’s request at Docket #3949.

Appellant/Movant HMIT’s Supplemental Statement of Issues and
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           4. “[t]here may be mixed questions of fact and law implicated by the Motion for
              Leave”?

       [See Dkt. Nos. 3781, 3790, 3903-04].

B.     Did the bankruptcy court err in determining that Appellant lacked constitutional or
       prudential standing to bring its claims in its individual and derivative capacities?

       [See Dkt. Nos. 3903-04].

C.     Did the bankruptcy court err in alternatively determining that, even under a non-
       evidentiary, Rule 12(b)(6)-type analysis, Appellant did not assert colorable claims
       including, but not limited to, determining that:

           1. Appellant’s allegations are conclusory, speculative, or constitute “legal
              conclusions”;

           2. Appellant’s claims or allegations are not “plausible”;

           3. Appellant’s allegations pertaining to a quid pro quo are “pure speculation”;

           4. Proposed Defendant James P. Seery (“Seery”) owed no duty to Appellant in any
              capacity as a matter of law;

           5. Appellant failed “to allege facts in the Proposed Complaint that would support a
              reasonable inference that Seery breached his fiduciary duty to HMIT or the estate
              as a result of bad faith, self-interest, or other intentional misconduct rising to the
              level of a breach of the duty of loyalty”;

           6. Appellant’s allegations pertaining to its aiding and abetting and conspiracy claims
              are speculative and not plausible;

           7. The remedies of equitable disallowance and equitable subordination are not
              remedies “available” to Appellant as a matter of law;

           8. Appellant’s unjust enrichment claim is invalid as a matter of law because “Seery’s
              compensation is governed by express agreements”;

           9. Appellant is not entitled to declaratory relief because it has no colorable claims;
              and/or

           10. Appellant cannot recover punitive damages for its breach of fiduciary duty claim?

       [See Dkt. Nos. 3903-04].

D.     Alternatively, even if the bankruptcy court correctly determined that its “hybrid” Barton
       analysis controls, did the court violate Appellant’s due process rights by denying Appellant
       its requested discovery?

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       [See Dkt. Nos. 3800, 3853, 3903-04, June 8, 2023 Hearing].

E.     Alternatively, did the bankruptcy court err by denying Appellant’s requested discovery
       including, but not limited to:

           1. ordering that Appellant could not request or obtain any discovery other than a
              deposition of Seery and James D. Dondero; and/or

           2. determining that state court “Rule 202” proceedings supported the denial of
              discovery?

       [See Dkt. Nos. 3800 & June 8, 2023 Hearing; see also Dkt. Nos. 3903-04].

F.     Alternatively, did the bankruptcy court err by denying Appellant’s alternative request for
       a continuance to obtain the requested discovery?

G.     Alternatively, did the bankruptcy court err by excluding Appellant’s evidence, or admitting
       the same for only limited purposes, offered at the June 8, 2023 Hearing?

H.     Alternatively, did the bankruptcy court err by overruling Appellant’s objections to
       Appellees’ evidence offered at the June 8, 2023 Hearing?

I.     Alternatively, did the bankruptcy court err by excluding Appellant’s experts’ testimony?

       [See Dkt. No. 3853; see also Dkt. Nos. 3903-04].

J.     Alternatively, did the bankruptcy court err by striking Appellant’s proffer of its excluded
       experts’ testimony from the record?

       [See Dkt. No. 3869].

K.     Alternatively, if the bankruptcy court correctly determined that its “hybrid” Barton analysis
       controls, did the bankruptcy court err in determining that Appellant had not asserted
       colorable claims under that “hybrid” analysis including, but not limited to, its findings that:

           1. there is no evidence to support that Seery shared material non-public information
              with the Claims Purchasers;

           2. there is no evidence to support the alleged quid pro quo;

           3. the material shared was public information; and/or

           4. the Claims Purchasers had sufficient and lawful reasons to pay the amounts paid
              for the purchased claims.

       [See Dkt. Nos. 3903-04].

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L.      Did the bankruptcy court err in finding that Appellant is controlled by Dondero, and, as
        such, Appellant “cannot show that it is pursuing the Proposed Claims for a proper
        purpose”?

M.      Alternatively, does sufficient evidence support the bankruptcy court’s evidentiary findings
        made pursuant to its “hybrid” Barton analysis?

N.      Did the bankruptcy court err in denying an expedited hearing on Appellant’s Motion for
        Leave? [See Dkt. 3713].

O.      Does the bankruptcy court’s use of a new “colorability” standard to determine if claims by
        non-debtors against other non-debtors may proceed violate Stern v. Marshall and its
        progeny?

P.      Did the bankruptcy court err in denying Appellant’s Motion to Alter or Amend Order, to
        Amend or Make Additional Findings, for Relief from Order, or Alternatively, for New
        Trial under Federal Rules of Bankruptcy Procedure 7052, 9023, and 9024 including, but
        not limited to by:

           1. declining to consider disclosures that demonstrated that Appellant is “in the
              money”—an issue pertinent to the court’s erroneous standing decisions; and

           2. concluding that the disclosures failed to reinforce Appellant’s standing to pursue
              the claims presented?

        [Dkt. 3936].

                                        II.
                       DESIGNATION OF ITEMS FOR INCLUSION
                            IN THE APPELLATE RECORD

     1. Notice of Appeal

           a. Notice of Appeal [Dkt. 3906];

           b. Amended Notice of Appeal [Dkt. 3908]; and

           c. Second Amended Notice of Appeal [Dkt. 3945]

     2. The judgment, order, or decree appealed from:

           a. Memorandum Opinion and Order Pursuant to Plan “Gatekeeper Provision” and
              Pre-Confirmation “Gatekeeper Orders”: Denying Hunter Mountain Investment
              Trust’s Emergency Motion for Leave to File Adversary Proceedings [Dkts. 3903
              & 3904]


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           b. March 31, 2023 Order Denying Application for Expedited Hearing [Dkt. 3713];

           c. Order Fixing Briefing Schedule and Hearing Date with Respect to Hunter Mountain
              Investment Trust’s Emergency Motion for Leave to File Verified Adversary
              Proceeding as Supplemented [Dkt. 3781];

           d. Order Pertaining to the Hearing on Hunter Mountain Investment Trust’s Motion for
              Leave to File Adversary Proceeding [Dkts. 3787 and 3790];

           e. Order Regarding Hunter Mountain Investment Trust’s Emergency Motion for
              Expedited Discovery Or, Alternatively, For Continuance of the June 8, 2023
              Hearing [Dkt. 3800];

           f. Memorandum Opinion and Order Granting Joint Motion to Exclude Expert
              Evidence [Dkt. 3853];

           g. Order Striking HMIT’s Evidentiary Proffer Pursuant to Rule 103(a)(2) and
              Limiting Briefing [Dkt. 3869]; and

           h. Order Denying Motion of Hunter Mountain Investment Trust Seeking Relief
              Pursuant to Federal Rules of Bankruptcy Procedure 7052, 9023, and 9024 [Dkt.
              3936].

   3. Any opinion, findings of fact, and conclusions of law of the bankruptcy Court
        a. Memorandum Opinion and Order Pursuant to Plan “Gatekeeper Provision” and
            Pre-Confirmation “Gatekeeper Orders”: Denying Hunter Mountain Investment
            Trust’s Emergency Motion for Leave to File Adversary Proceedings [Dkts. 3903
            &3904]; and

           b. Order Denying Motion of Hunter Mountain Investment Trust Seeking Relief
              Pursuant to Federal Rules of Bankruptcy Procedure 7052, 9023, and 9024 [Dkt.
              3936].

   4. Docket sheet.

           a. Bankruptcy Case No. 19-34054

   5. Other Items to be included:

           a. HMIT hereby designates the following items in the record on appeal from Cause
              No. 19-34054-sgj11:




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  FILE DATE             DOCKET NO.                               DESCRIPTION
                     (INCLUDING ALL
                    ATTACHMENTS AND
                       APPENDICES)
 01/22/2021      1808                          Fifth Amended Plan of Reorganization of
                                               Highland Capital Management, L.P. (As
                                               Modified)

 02/22/2021      1943                          Order (I) Confirming the Fifth Amended Plan of
                                               Reorganization of Highland Capital Management,
                                               L.P. (as Modified) and (II) Granting Related Relief

 09/09/2022      3503                          Motion to Conform Plan filed by Highland Capital
                                               Management, L.P.

 02/27/203       3671                          Memorandum Opinion and Order on Reorganized
                                               Debtor’s Motion to Conform Plan

 03/28/2023      3699                          HMIT Emergency Motion for Leave to File
                 (3699-1 — 3699-5)             Verified Adversary Proceeding and Attached
                                               Verified Adversary Complaint

 03/28/2023      3700                          HMIT Motion for Expedited Hearing on
                 (3700-1)                      Emergency Motion for Leave to File Verified
                                               Adversary Proceeding

 03/30/2023      3704                          Farallon, Stonehill, Jessup and Muck Objection to
                                               Motion for Expedited Hearing

 03/30/2023      3705                          HMIT Amended Certificate of Conference

 03/30/2023      3706                          HMIT Amended Certificate of Conference

 03/30/2023      3707                          Highland’s Response in Opposition to Emergency
                                               Motion for Leave

 03/30/2023      3708                          Declaration of John Morris in Support of the
                 (3708-1 — 3708-8)             Highland Parties’ Objection to Hunter Mountain
                                               Investment Trust's Opposed Application for
                                               Expedited Hearing on Emergency Motion for
                                               Leave to File Verified Adversary Proceeding

 03/31/2023      3712                          HMIT Reply in Support of Application for
                                               Expedited Hearing

 03/31/2023      3713                          Order Denying Motion for Expedited Hearing

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 04/04/2023      3718                          HMIT Motion for Leave to File Appeal
                 (3718-1 — 3718-4)

 04/04/2023      3719                          HMIT Motion for Expedited Hearing on Motion
                 (3719-1)                      for Leave to File Appeal

 04/05/2023      3720                          Order Denying HMIT’s Opposed Motion for
                                               Expedited Hearing

 04/05/2023      3721                          HMIT Notice of Appeal
                 (3721-1 — 3721-2)

 04/06/2023      3726                          Certificate of Mailing regarding HMIT Notice of
                 (3726-1)                      Appeal

 04/07/2023      3731                          Notice of Docketing Transmittal of Notice of
                                               Appeal

 04/13/2023      3738                          Highland’s Opposed Emergency Motion to
                 (3738-1)                      Modify and Fix a Briefing Schedule and Set a
                                               Hearing Date with Respect to HMIT’s Emergency
                                               Motion for Leave

 04/13/2023      3739                          Highland’s Motion for Expedited Hearing

 04/13/2023      3740                          Joinder to Highland’s Emergency Motion to
                                               Modify and Fix Briefing Schedule and Set Hearing
                                               Date With Respect to Hunter Mountain Investment
                                               Trust’s Emergency Motion for Leave to File
                                               Verified Adversary Proceeding filed by Farallon
                                               Capital Management, LLC, Jessup Holdings LLC,
                                               Muck Holdings LLC, Stonehill Capital
                                               Management LLC

 04/13/2023      3741                          Notice of Hearing for 04/24/2023 at 1:30 PM

 04/13/2023      3742                          Amended Notice of Hearing for 04/24/2023 at
                                               1:30 PM

 04/13/2023      3745                          Notice of Appearance and Request for Notice by
                                               Omar Jesus Alaniz filed by James P. Seery Jr.

 04/15/2023      3747                          Joinder by James P. Seery Jr. to Highland’s
                                               Emergency Motion to Modify and Fix Briefing
                                               Schedule and Set Hearing Date with Respect to
                                               Hunter Mountain Investment Trusts Emergency

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                                               Motion for Leave to File Verified Adversary
                                               Proceeding

    04/17/2023       3748                      HMIT’s Response and Reservation of Rights

    04/19/2023       3751                      Notice of Status Conference

    04/21/2023       3758                      HMIT’s Objection Regarding Evidentiary Hearing
                                               and Brief Concerning Gatekeeper Proceedings
                                               Relating to “Colorability”

    04/21/2023       3759                      HMIT’s Notice of Rescheduling Hearing

    04/21/2023       3761                      HMIT’s Objection Regarding Evidentiary Hearing
                                               and Brief Concerning Gatekeeper Proceedings
                                               Relating to “Colorability” 3
    04/23/2023       3760                      HMIT’s Supplement to Emergency Motion for
                     (3760-1)                  Leave to File Verified Adversary Proceeding and
                                               Attached Verified Adversary Complaint

    04/24/2023       3764                      Hearing held on 4/24/2023 re: HMIT’s Motion for
                                               Leave to File Verified Adversary Proceeding

    04/25/2023       3765                      Transcript of Hearing held on 04/24/2023

    05/11/2023       3780                      Objection to Hunter Mountain Investment Trust’s
                                               (i) Emergency Motion for Leave to File Verified
                                               Adversary Proceeding; and (ii) Supplement to
                                               Emergency Motion for Leave to File Verified
                                               Adversary Proceeding filed by Farallon Capital
                                               Management, LLC, Jessup Holdings LLC, Muck
                                               Holdings LLC, Stonehill Capital Management
                                               LLC

    05/11/2023       3781                      Order Fixing Briefing Scheduling and Hearing
                                               Date with Respect to HMIT’s Emergency Motion
                                               for Leave to File Verified Adversary Proceeding
                                               as Supplemented

    05/11/2023       3783                      Highland and Seery’s Joint Response to HMIT’s
                                               Emergency Motion for Leave

    05/11/2023       3784                      Declaration of John Morris in Support of Highland
                     (3784-1 — 3784-46)        Parties’ Joint Response

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    A duplicate of Doc 3758.

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 05/18/2023      3785                          HMIT’s Reply in Support of Emergency Motion
                                               for Leave to File Adversary Proceeding

 05/22/2023      3787                          Order Pertaining to the Hearing on Hunter
                                               Mountain Investment Trust’s Motion for Leave to
                                               File Adversary Proceeding [DE##3699 & 3760]

 05/24/2023      3788                          HMIT’s Emergency Motion for Expedited
                 (3788-1 — 3788-5)             Discovery or, Alternatively, for Continuance of
                                               June 8, 2023 Hearing

 05/24/2023      3789                          HMIT’s Application for Expedited Hearing

 05/24/2023      3790                          Order Pertaining to the Hearing on Hunter
                                               Mountain Investment Trust’s Motion for Leave to
                                               File Adversary Proceeding [DE##3699 & 3760]

 05/25/2023      3791                          HMIT’s Emergency Motion for Expedited
                 (3791-1 — 3791-5)             Discovery or, Alternatively, for Continuance of
                                               June 8, 2023 Hearing

 05/25/2023      3792                          Order Setting Expedited Hearing

 05/25/2023      3795                          Objection to Hunter Mountain Investment Trust’s
                                               Emergency Motion for Expedited Discovery or,
                                               Alternatively, for Continuance of June 8, 2023
                                               Hearing filed by Farallon Capital Management,
                                               LLC, Jessup Holdings LLC, Muck Holdings LLC,
                                               Stonehill Capital Management LLC

 05/25/2023      3798                          Highland Parties’ Joint Response in Opposition to
                 (3798-1)                      HMIT’s Emergency Motion for Expedited
                                               Discovery

 05/26/2023      3800                          Order Regarding Hunter Mountain Investment
                                               Trust’s Emergency Motion for Expedited
                                               Discovery or, Alternatively, for Continuance of
                                               the June 8, 2023 Hearing

 05/26/2023      3825                          Hearing Held on 05/26/2023

 05/26/2023      3826                          Hearing Held on 05/26/2023

 05/26/2023      3827                          Hearing Held on 05/26/2023



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 05/28/2023      3801                          Order Regarding Hunter Mountain Investment
                                               Trust’s Emergency Motion for Expedited
                                               Discovery or, Alternatively, for Continuance of
                                               the June 8, 2023 Hearing

 06/05/2023      3815                          Hunter Mountain Investment Trust’s Emergency
                 (3815-1)                      Motion for Leave to File Verified Adversary
                                               Proceeding

 06/05/2023      3816                          Hunter Mountain Investment Trust’s Emergency
                 (3816-1)                      Motion for Leave to File Verified Adversary
                                               Proceeding

 06/05/2023      3817                          Highland Parties’ Witness and Exhibit List with
                 (3817-1 — 3817-5)             Respect to Evidentiary Hearing on June 8, 2023

 06/05/2023      3818                          HMIT’s Witness and Exhibit List in Connection
                 (3818-1 — 3818-9)             with its Emergency Motion for Leave to File
                                               Verified Adversary Proceeding, and Supplement

 06/07/2023      3820                          Highland Parties’ Joint Motion to Exclude
                                               Testimony and Documents of Scott Van Meter and
                                               Steve Pully

 06/07/2023      3821                          Declaration in Support of Highland Parties’ Joint
                 (3821-1 — 3821-3)             Motion to Exclude Testimony and Documents of
                                               Scott Van Meter and Steve Pully

 06/07/2023      3822                          HMIT’s Unopposed Motion to File Exhibit Under
                 (3822-1)                      Seal [WITHDRAWN]

 06/07/2023      3823                          Joinder to Joint Motion to Exclude Testimony and
                                               Documents of Scott Van Meter and Steve Pully
                                               filed by Farallon Capital Management, LLC,
                                               Jessup Holdings LLC, Muck Holdings LLC,
                                               Stonehill Capital Management LLC

 06/07/2023      3824                          HMIT’s Objections to the Highland Parties’
                                               Exhibit and Witness List

 06/08/2023      3828                          HMIT’s Response to Highland Claimant Trust and
                                               James P. Seery, Jr.’s Joint Motion to Exclude
                                               Testimony and Documents of Experts Scott Van
                                               Meter and Steve Pully

 06/08/2023      3839                          Hearing held on 06/08/2023

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 06/09/2023      3831                          Audio File. Court Date & Time [05/26/2023
                                               12:53:45 PM]

 06/09/2023      3832                          Audio File. Court Date & Time [06/08/2023
                                               02:01:09 PM].

 06/09/2023      3833                          Audio File. Court Date & Time [06/08/2023
                                               02:02:00 PM].

 06/09/2023      3834                          Audio File. Court Date & Time [06/08/2023
                                               02:02:56 PM].

 06/09/2023      3835                          Audio File. Court Date & Time [06/08/2023
                                               02:03:54 PM].

 06/09/2023      3836                          Audio File. Court Date & Time [06/08/2023
                                               02:04:32 PM].

 06/09/2023      3837                          Request for transcript regarding hearing held on
                                               06/08/2023

 06/12/2023      3838                          Court admitted exhibits on hearing June 8, 2023

 06/12/2023      3841                          Highland Parties’ Reply in Further Support of their
                                               Joint Motion to Exclude Testimony and
                                               Documents of Scott Van Meter and Steve Pully

 06/12/2023      3842                          Claim Purchasers’ Joinder to Highland Capital
                 (3842-1)                      Management, L.P., Highland Claimant Trust, and
                                               James P. Seery Jr.‘s Reply in Further Support of
                                               Their Joint Motion to Exclude Testimony and
                                               Documents of Scott Van Meter and Steve Pully
                                               filed by Farallon Capital Management, LLC,
                                               Jessup Holdings LLC, Muck Holdings LLC,
                                               Stonehill Capital Management LLC

 06/13/2023      3843                          Transcript regarding Hearing Held 06/08/2023

 06/13/2023      3844                          Transcript regarding Hearing Held 05/26/2023

 06/13/2023      3845                          HMIT’s Request for Oral Hearing or,
                                               Alternatively, a Schedule for Evidentiary Proffer

 06/13/2023      3846                          Response in Opposition to Hunter Mountain
                                               Investment Trust's Request for Oral Argument or,
                                               Alternatively, a Schedule for Evidentiary Proffer

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                                                      filed by Debtor Highland Capital Management,
                                                      L.P., Other Professional Highland Claimant Trust,
                                                      Creditor James P. Seery Jr.
    06/13/2023      3847                              HMIT’s Reply to the Highland Parties’ Response
                                                      to Request for Oral Hearing

    06/16/2023      3853                              Memorandum Opinion and Order Granting Joint
                                                      Motion to Exclude Expert Evidence

    06/16/2023      3854                              Memorandum Opinion and Order Granting Joint
                                                      Motion to Exclude Expert Evidence

    06/19/2023      3858                              Hunter Mountain Investment Trust’s Evidentiary
                    (3858-1 — 3858-2)                 Proffer Pursuant to Rule 103(a)(2) 4

    06/23/2023      3860                              The Highland Parties’ Objections to and Motion to
                                                      Strike Hunter Mountain Investment Trust’s
                                                      Purported Proffer

    06/23/2023      3861                              Claim Purchasers’ Joinder to the Highland Parties’
                                                      Objections and Motion to Strike Hunter Mountain
                                                      Investment Trust’s Purported Proffer

    07/05/2023      3869                              Order Striking HMIT’s Evidentiary Proffer
                                                      Pursuant to Rule 103(a)(2) and Limiting Briefing

    07/06/2023      3872                              Notice of Filing of the Current Balance Sheet of
                                                      the Highland Claimant Trust filed by Debtor
                                                      Highland Capital Management, L.P. and the
                                                      Highland Claimant Trust

    07/21/2023      3888                              Post-Confirmation Report for Highland Capital
                                                      Management, LP for the Quarter Ending June 30,
                                                      2023 filed by Highland Capital Management,
                                                      L.P.

    07/21/2023      3889                              Post-Confirmation Report for Highland Capital
                                                      Management, LP for the Quarter Ending June 30,
                                                      2023 filed by the Highland Claimant Trust

    08/17/2023      3901                              Withdrawal of HMIT's Unopposed Motion to File
                                                      Exhibit Under Seal filed by Creditor

4
  HMIT understands that the Court struck this proffer in docket entry 3869. Because the proffer appears to remain on
the record and to avoid any argument that HMIT has failed its burden to designate the record, HMIT designates this
docket entry out of an abundance of caution.

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                                               Hunter Mountain Investment Trust

 08/25/2023       3903                         Memorandum Opinion and Order Pursuant to Plan
                                               “Gatekeeper Provision” and Pre-Confirmation
                                               “Gatekeeper Orders”: Denying Hunter Mountain
                                               Investment Trust’s Emergency Motion for Leave
                                               to File Verified Adversary Proceeding

 08/25/2023       3904                         Memorandum Opinion and Order Pursuant to Plan
                                               “Gatekeeper Provision” and Pre-Confirmation
                                               “Gatekeeper Orders”: Denying Hunter Mountain
                                               Investment Trust’s Emergency Motion for Leave
                                               to File Verified Adversary Proceeding

 09/08/2023       3905                         Motion to Alter or Amend Order, to Amend or
                  (3905-1 — 3905-6)            Make Additional Findings, for Relief
                                               from Order, or, Alternatively, for New Trial Under
                                               Federal Rules of Bankruptcy Procedure 7052,
                                               9023, and 9024 and Incorporated Relief Filed by
                                               Creditor Hunter Mountain Investment Trust

 09/11/2023       3907                         Clerk’s Correspondence regarding HMIT’s Notice
                                               of Appeal

 09/22/2023       3928                         Notice Regarding Appeal and Pending Post-
                                               Judgment Motion filed by HMIT

 10/05/2023       3936                         Order Denying Motion of Hunter Mountain
                                               Investment Trust Seeking Relief Pursuant to
                                               Federal Rules of Bankruptcy Procedure 7052,
                                               9023, and 9024


B.       Exhibits.

        Further, the Parties submitted hearing exhibits. HMIT designates for inclusion in the record
for appeal all the hearing exhibits submitted to the Court, which were all electronically filed and
are in the Court’s record and are a part of this Appellate Record. (Docs. 3817 and 3818). The
following exhibits are submitted and included in the Court’s record:


                                          HMIT Exhibits
     (Dkts. 3818, 3818-1, 3818-2, 3818-3, 3818-4, 3818-5. 3818-6, 3818-7, 3818-8, and 3818-9)

                                     HMIT Exhibits 1-4, 6-80


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                                        HCM Exhibits
                      (Dkts. 3817, 3817-1, 3817-2, 3817-3, 3817-4, 3817-5)

                  HCM Exhibits 2-15, 25-34, 36, 38-42, 45-46, 51, 59-60, 100


Dated: October 20, 2023                           Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing document was served via ECF notification on
October 20, 2023, on all parties receiving electronic notification.

                                              /s/ Sawnie A. McEntire
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